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                                                    U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Jacob K. Javits Federal Building
                                                       26 Federal Plaza
                                                       New York, New York 10278



                                                       October 25, 2024

BY ECF
The Honorable Ronnie Abrams
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

         Re:    United States v. Paduch, S2 23 Cr. 181 (RA)

Dear Judge Abrams:

        The Government respectfully submits this letter in opposition to the defendant’s motion
for a new trial under Rule 33 of the Federal Rules of Criminal Procedure. The motion rests on
what the defendant characterizes as “newly discovered evidence”—specifically, a hard drive of
materials that the Government produced before trial (the “Materials”).

         As discussed below, the Materials are not newly discovered. There is no dispute that the
Government timely produced the materials to defense counsel and the defendant’s detention
facility (the “MDC”) before trial. The defendant cannot show how the alleged failure of the MDC
to provide him the Materials caused him any prejudice, much less the likelihood of acquittal. The
motion fails as a matter of law.

      I. Relevant Facts

        On April 10, 2024, the Government sent the MDC a hard drive containing the Materials,
with directions that the Materials be made available to the defendant. The Materials consisted of
materials across several productions that the Government had previously produced to defense
counsel.

         Specifically, the Materials consisted 1 of:

      Bates Range                           Description                               Date of Production
    (Prefix Omitted)                                                                  to Defense Counsel
    136545 – 136643     Krista Bevin Emails (the “KB Emails”)                         March 22, 2024

1
   Should the Court find it necessary to review the Materials, the Government is happy to make
them available to the Court via USAfx.
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    136644 – 136644   Tim Douglas Text Message (the “TD Text”)              March 22, 2024
    136645 – 136649   Sam Lenox Emails (the “SL Emails”)                    March 22, 2024
    139686 – 139889   James Brent Text Messages (the “JB Texts”)            April 9, 2024
    136384 – 136403   Texts and Emails with Non-Witness Victim DS           March 11, 2024
                      (the “DS Communications”)
    002266 – 002783   Medical Records for Tucker Coburn (the “TC            June 12, 2023
                      Medical Records”)
    136199 – 136383   Medical Records for Nate Klavin (the “NK              March 11, 2024
                      Medical Records”)
    136659 – 138150   Medical Records for Non-Witness Victim BB (the        March 29, 2024
                      “BB Medical Records”)

        Shortly after the Government sent the Materials to the MDC, the Government provided the
cover letter accompanying the Materials to defense counsel.

       On April 22, 2024, the defense advised the Government that the defendant had not yet
received the Materials, and the Government provided the tracking number and delivery
confirmation to defense counsel. Until the defense’s motion two days ago, the Government
received no further inquiry from the defense regarding the Materials. 2

        The non-witness victims DS and BB did not testify at trial, and no facts pertinent to either
of them were presented to the jury. The remaining Materials pertained to trial witnesses and, as
reflected below, were separately marked and produced either as Government Exhibits or Jencks
Act material:

          Materials               Separate GX or Jencks Act Designation/Production
    KB Emails               3527-002, 003
    TD Text                 GX 405
    SL Emails               3553-014, 015, 016, 017, 018, GX 701 (one of the emails)
    JB Texts                GX 410
    TC Medical Records      GX 215
    NK Medical Records      GX 211

       The defendant does not contend that he was deprived of access to the Government Exhibits
or Jencks Act materials produced before and during trial.

       With the exception of the KB Emails and some of the SL Emails, each of the Materials was
admitted as a Government Exhibit at trial; and the TD Text and JB Texts were the subject of
testimony by Tim Douglas and James Brent. (Tr. 114 (GX 211 and 215), 703 (GX 405), 909 (GX
410).) While the KB Emails and SL Emails were not offered as exhibits, the topics they cover
were the subject of testimony as well. The KB Emails document Krista Bevin’s efforts to secure
medical treatment for her son, Luke Bevin, from the defendant. (Tr. 424–434.) The SL Emails

2
    For purposes of this motion, the Government presumes the truth of the defendant’s assertion
that the defendant did not receive the Materials until August 21, 2024.
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are on-boarding emails between Sam Lenox and employees at Weill-Cornell in connection with
Lenox’s summer internship, about which he testified; one of the emails, from the defendant to Mr.
Lenox, was admitted as GX 701. (Tr. 125–129, 155–160.)

        At no point during any witness testimony or the admission of any of the above Government
Exhibits did the defendant alert the Court or the Government that he was seeing these Materials
for the first time. Defense counsel used the NK and TC Medical Records at trial, including during
the cross-examination of Dr. Amin Herati. (Tr. 414.)

   II. Applicable Law

        Federal Rule of Criminal Procedure 33 authorizes a court to “vacate any judgment and
grant a new trial if the interest of justice so requires,” upon the motion of a defendant. Where such
a motion rests on a claim of newly discovered evidence, the defendant must prove that: “(1) the
evidence was newly discovered after trial; (2) facts are alleged from which the court can infer due
diligence on the part of the movant to obtain the evidence; (3) the evidence is material; (4) the
evidence is not merely cumulative or impeaching; and (5) the evidence would likely result in an
acquittal.” United States v. Forbes, 790 F.3d 403, 406–07 (2d Cir. 2015) (citation, brackets, and
quotation marks omitted). The Second Circuit has long held that such motions should be granted
“only with great caution” and “in the most extraordinary circumstances.” Romero v. United States,
28 F.3d 267, 268 (2d Cir. 1994) (citation and quotation marks omitted); United States v. Alessi,
638 F.2d 466, 479 (2d Cir. 1980) (quotation marks omitted).

        The purpose of Rule 33 is to address “a real concern that an innocent person may have been
convicted,” United States v. Sanchez, 969 F.2d 1409, 1414 (2d Cir. 1992), and the “ultimate test
on a Rule 33 motion is whether letting a guilty verdict stand would be a manifest injustice.” United
States v. Ferguson, 246 F.3d 129, 134 (2d Cir. 2001).

   III. Discussion

       The defendant’s motion fails as a matter of law on a number of grounds.

         First, the defendant does not dispute that the Materials were in the actual possession of
counsel before trial. It follows that the Material were not “newly discovered after trial.” The
defendant wishes to draw a distinction between the Materials being provided to counsel and the
Materials being provided to him personally. The law recognizes no such distinction. Because
defense counsel is the defendant’s agent, counsel’s receipt of the Materials is equivalent to receipt
by the defendant himself. For this reason, in cases addressing alleged discovery violations, courts
have commonly characterized production of discovery materials “to defense counsel” as sufficient
to meet the Government’s discovery obligations to the defendant. E.g., United States v. Monsanto
Lopez, 798 F. App’x 688, 690 (2d Cir. 2020) (“As it gathered additional evidence shortly before
trial, that evidence was promptly produced to defense counsel.”); In re Terrorist Bombings of U.S.
Embassies in E. Afr., 552 F.3d 93, 126 (2d Cir. 2008) (“Our understanding that production of
materials to a party’s attorney alone falls within the common meaning of ‘discovery’ further
strengthens our conviction that the discovery restrictions imposed by the District Court were
perfectly appropriate and valid . . . .”); cf. United States v. McKeon, 738 F.2d 26, 33 (2d Cir. 1984)
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(noting that attorney functions as agent of the client, such that attorney’s trial statements are usable
as admissions against the client). While the Government elects in some cases—including this
one—to provide discovery to the defendant as a courtesy, that is not required by the law.

        Second, the defendant failed to exercise due diligence. There is no question that defense
counsel was aware by April 22, 2024 that the defendant had not received the Materials. Counsel
contacted the MDC on April 22 and April 26. In its email of April 22, counsel stated that he “did
not believe the discovery was uploaded to the laptop.” Presumably counsel formed that belief only
after discussing the existence of the Materials with the defendant. In other words, the defendant
would have known of the existence of the Materials prior to his counsel’s email of April 22. It
does not appear that the defendant—who was given almost daily access to discovery materials in
the leadup to trial—made attempts after April 26 to locate the Materials before or during trial. To
the extent that the defendant believed there to be some discovery that his attorneys possessed but
that he did not, nothing prevented him from asking his counsel to bring the Materials to him so
they could discuss. Just as importantly, when certain of the Materials were admitted as
Government Exhibits at trial (or marked as Jencks Act material separately produced to the
defense), the defendant never alerted the Court or the Government that he was seeing these
Materials for the first time.

        Third, the Materials are not the least bit helpful to the defendant. The KB Emails and SL
Emails do not bear, one way or the other, on the central dispute at trial: whether the victims were
lying about their abuse in the hands of the defendant. If anything, those emails strongly corroborate
Krista Bevin’s and Sam Lenox’s testimony. The TC and NK Medical Records are of a piece with
the other medical records introduced at trial, and defense counsel used all of the medical records
(including TC’s and NK’s) to argue, among other things, that the Government’s expert witnesses
lacked a basis for their opinions about the propriety of the defendant’s conduct. (Tr. 414.) Finally,
Tim Douglas and James Brent testified about their respective text messages with the defendant—
messages in which the defendant repeatedly referenced his sexual touching of those witnesses.
(Tr. 703, 909.) Put simply, the Materials were damning pieces of evidence in a trial in which the
Government’s case was overwhelming. This is not a case in which there is a “real concern that an
innocent person may have been convicted.” Sanchez, 969 F.2d at 1414.

        The defendant does not even attempt to articulate how his personal receipt of the Materials
would have led to the likelihood of an acquittal. It is telling that, despite finding the Materials in
August 2024 and not making his motion until two days ago, the defendant cannot articulate any
way in which he and counsel would have conducted trial differently. The defendant alludes
broadly to the importance of cross-examination and the weightiness of his decision not to testify
in his own defense, but he does not articulate a single line of cross-examination that would have
gone differently or how the Materials would have altered his decision not to testify. See, e.g.,
United States v. Cristobal, No. 23-6107, 2024 WL 1506750, at *5 (2d Cir. Apr. 8, 2024) (finding
that defendant failed to establish prejudice prong of Brady claim where she “does not identify any
pages, individually or in the aggregate, that she would have used at trial”); United States v.
Malachowski, 09 Cr. 125, 2018 WL 11300483, at *15 (N.D.N.Y. June 11, 2018) (rejecting
defendant’s prejudice argument as “based on nothing more than airy generalities and conclusory
assertions”).
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        To the extent that any of the Materials are conceivably helpful to the defendant, they are at
most cumulative and impeachment material. For example, the KB Emails could have been used
by the defense to suggest that Krista Bevin thought highly of the defendant. Similarly, the SL
Emails could have been used by the defense to argue that Sam Lenox looked forward to his summer
internship. But those were facts that were already evident from the testimony of Mr. Lenox and
Ms. Bevin. (Tr. 125–129 (testimony of Sam Lenox), 428–430 (testimony of Krista Bevin).)
Consequently, the defense had all of the information necessary to make strategic choices about
whether and to what extent to cross on these topics. 3 Even if the defense had further developed
those themes through the relevant emails, there is no possibility that doing so would have altered
the jury’s verdict on any count.

    IV. Conclusion

       For the reasons above, the defendant’s motion is meritless and should be denied.


                                                Respectfully submitted,

                                                DAMIAN WILLIAMS
                                                United States Attorney for the
                                                Southern District of New York

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CC
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3
   And, as noted above, these emails were separately produced to the defense as Jencks Act
material.
